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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


JOSE MARIA DECASTRO,                                    Case No. 1:22-cv-00204
                                                        Barrett, J.; Bowman, M.J.
                Plaintiff,

           v.

PAM WAGNER, et al.,

                Defendants.

                                         ORDER

       This matter is before the Court on Plaintiff’s Response to the Court’s Order to Show

Cause of July 21, 2022 (doc. 18). As Plaintiff represents that he did not receive the

Court’s previous Order to Show Cause of June 29, 2022, relating to Defendants Lawrence

County, Major Chapman and Jane Doe's motion to dismiss (doc. 16), the Court shall

construe Plaintiff’s response as being responsive to both Orders to Show Cause.

       Having reviewed this matter, the Court finds that Plaintiff has adequately

responded to the Court’s Orders to Show Cause. Accordingly, the Court’s Orders to Show

Cause (docs. 16, 17) are hereby RESCINDED. Plaintiff is hereby GRANTED a thirty (30)

day extension of time from the date of this Order in which to respond to Defendants’

pending dispositive motions (docs. 8, 15) or to file his first amended complaint.

       SO ORDERED.

                                          __s/Stephanie K. Bowman_________
                                          Stephanie K. Bowman
                                          United States Magistrate Judge
